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 8
                           UNITED STATES DISTRICT COURT
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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             No. 2:22-cr-00104-PA
11
                    Plaintiff,             I N F O R M A T I O N
12
                    v.                     [18 U.S.C. § 1018: Making a False
13                                         Writing; 18 U.S.C.
     RICHARD GUSTAVE OLSON, JR.,           §§ 207(f)(1)(B), 216(a)(1):
14                                         Aiding and Assisting a Foreign
                    Defendant.             Government with Intent to
15                                         Influence Decisions of United
                                           States Officers]
16
                                           [CLASS A MISDEMEANORS]
17

18
          The United States Attorney charges:
19
                              INTRODUCTORY ALLEGATIONS
20
          At times relevant to this Information:
21
     A.   PERSONS AND ENTITIES
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          1.   Defendant RICHARD GUSTAVE OLSON, JR. was a career foreign
23
     service officer employed by the United States (“U.S.”) State
24
     Department.   Defendant OLSON was appointed by the President and
25
     confirmed by the U.S. Senate to serve as Ambassador to the United
26
     Arab Emirates (“UAE”) from on or about October 14, 2008 through May
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 1   2, 2011 and to serve as Ambassador to Pakistan from on or about

 2   October 31, 2012 through November 17, 2015.

 3              a.   From on or about November 17, 2015 through his

 4   retirement on November 30, 2016, defendant OLSON served as U.S.

 5   Special Representative for Afghanistan and Pakistan (“Special

 6   Representative”).

 7              b.   In or about December 2016, after retiring from

 8   government service, defendant OLSON created an entity called Medicine

 9   Bear International Consulting, LLC (“Medicine Bear”).

10        2.    Person 1 was a naturalized U.S. citizen born in Pakistan.

11   Person 1 operated various informal and formal business entities

12   collectively referred to as Person 1’s Company.        As part of his

13   business operations, Person 1 was retained by various foreign

14   governments and individuals to engage in lobbying and public

15   relations efforts.   Person 1 received funds from foreign clients,

16   used those funds to make political campaign contributions to U.S.

17   politicians, parlayed those contributions into political influence in

18   the U.S., and lobbied U.S. officials on behalf of his foreign

19   clients.

20              a.   In or about March 2013, Person 1 met with defendant

21   OLSON in Islamabad, Pakistan.     From in or about March 2013 through

22   November 2016, Person 1 solicited defendant OLSON’s advice and

23   assistance in his capacity as Ambassador with respect to a variety of

24   business matters of interest to Person 1.

25              b.   In or about November or December 2016, either just

26   prior to, or shortly after, defendant OLSON retired from government

27   service, Person 1 agreed to retain the services of defendant OLSON

28   for $20,000 per month plus expenses.      On or about December 15, 2016,

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 1   Person 1 sent defendant OLSON his first monthly check payable to

 2   Medicine Bear in the amount of $20,000.

 3   B.   ETHICS OBLIGATIONS AND REPORTING REQUIREMENTS

 4        3.   To increase public confidence in the federal government,
 5   demonstrate the integrity of government officials, and enhance the
 6   ability of the citizenry to judge the performance of public
 7   officials, the U.S. Congress enacted the Ethics in Government Act of
 8   1978 (“the Act”).   The Act established an agency within the Executive
 9   Branch, the Office of Government Ethics (“OGE”), to oversee public
10   employee compliance with U.S. ethics laws.
11        4.   Because transparency was a critical part of government
12   ethics, Congress determined that U.S. citizens should know their
13   leaders’ financial interests.     Accordingly, the Act and its
14   implementing regulations required certain government employees
15   (“public filers”) to file public financial disclosure reports on an
16   annual basis.   The annual reports, known as OGE Forms 278, required
17   the employee to disclose financial matters including their income,
18   assets, liabilities, outside employment arrangements, gifts,
19   reimbursements, and travel expenses.      The OGE 278 forms certified
20   that the statements the public filer made on the form and all
21   attached schedules were true, complete, and correct to the best of
22   the public filer’s knowledge.     In both his capacities as Ambassador
23   and Special Representative, defendant OLSON was a public filer.
24        5.   OGE and the employee’s agency were jointly charged with
25   ensuring compliance with ethics laws and reporting obligations,
26   investigating possible violations, and referring possible violations
27   to the agency’s Inspector General and the U.S. Department of Justice
28   for civil enforcement or criminal prosecution.
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 1        6.    The Act also imposed “revolving door” prohibitions upon

 2   senior government officials.     After retirement from government

 3   service, senior government officials were prohibited from

 4   representing foreign entities before U.S. officials or aiding or

 5   advising any foreign entity, including through any behind-the-scenes

 6   consulting, with the intent to influence U.S. officials during a one-

 7   year “cooling off” period.     Congress enacted similar “revolving door”

 8   restrictions into a criminal statute, Title 18, United States Code,

 9   Section 207(f).   In accordance with these laws, defendant OLSON was

10   prohibited from engaging in lobbying activity or aiding or advising

11   any foreign government in its attempts to influence U.S. officials

12   during the period December 1, 2016 through December 1, 2017.           During

13   this time, defendant OLSON was aware of the “revolving door”

14   prohibitions and understood that they applied to him.

15   C.   WHILE EMPLOYED BY THE FEDERAL GOVERNMENT, DEFENDANT OLSON
          RECEIVED OVER $18,000 IN TRAVEL EXPENSES FROM PERSON 1 TO ATTEND
16        A JOB INTERVIEW WITH BUSINESSPERSON 2 IN LONDON
17        7.    On or about January 15, 2015, defendant OLSON, who was then
18   still serving as U.S. Ambassador to Pakistan, met with Person 1 in
19   Los Angeles and discussed the possibility that defendant OLSON might
20   work for Person 1’s business associate, Businessperson 2, a citizen
21   of Bahrain, who operated Businessperson 2’s Company.         On or about
22   January 23, 2015, defendant OLSON agreed to meet Person 1 and
23   Businessperson 2 in London on January 31.
24        8.    On or about January 27, 2015, Person 1 procured defendant
25   OLSON’s first-class airfare from New Mexico, via Los Angeles, to
26   London.   Person 1 paid for the trip with a combination of credit card
27   expenditures and approximately 330,000 frequent flyer miles.           In
28   total, the airfare was worth approximately $18,829.         Person 1 paid
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 1   for his and defendant OLSON’s stay at a luxury hotel in London at a

 2   combined cost of approximately $2,298.       Person 1 also paid for dinner

 3   in London for defendant OLSON, Businessperson 2, Person 1, and

 4   another individual at a cost of approximately $589.

 5        9.     On or about February 19, 2015, Businessperson 2’s Company

 6   offered defendant OLSON a one-year contract with Businessperson 2’s

 7   Company, commencing after defendant OLSON’s retirement from

 8   government service, that included compensation of $300,000 per year.

 9   D.   AFTER HIS RETIREMENT FROM GOVERNMENT SERVICE, DEFENDANT OLSON
          PROVIDED AID AND ADVICE TO QATAR
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          10.    After defendant OLSON began working for Person 1 and Person
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     1’s Company in December 2016, despite being aware that he was subject
12
     to the “revolving door” prohibitions of the Act and Section 207(f),
13
     defendant OLSON violated these prohibitions on multiple occasions.
14
                 a.   DEFENDANT OLSON PROVIDED AID AND ADVICE TO QATAR TO
15                    FACILITATE LOBBYING U.S. OFFICIALS TO ESTABLISH U.S.
                      CUSTOMS PRECLEARANCE FACILITIES AT DOHA INTERNATIONAL
16                    AIRPORT
17        11.    U.S. Customs and Border Protection (“CBP”) preclearance
18   facilities at foreign international airports provided significant
19   benefits to host countries and their national airlines.         CBP allowed
20   flights originating from a precleared airport to fly directly from
21   that airport to over 160 destinations in the United States,
22   regardless of whether the destination airport had a CBP port of
23   entry.    Preclearance facilities thus provided a host country’s
24   airport an advantage over competitors for the U.S.-bound traveler
25   market.
26        12.    In or about January 2014, while defendant OLSON was serving
27   as Ambassador to the UAE, the U.S. and the UAE negotiated to
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 1   establish a CBP preclearance facility at the Abu Dhabi International

 2   Airport in the UAE -- one of Qatar’s regional rivals.

 3        13.   On or about October 25, 2016, Person 1 caused the drafting

 4   of a contract between Person 1’s Company and a Qatar-based holding

 5   company controlled by Qatar Government Official 1, whereby Person 1’s

 6   Company would be paid $3.5 million per year plus a 20% “success fee.”

 7        14.   On or about November 14, 2016, Qatar Government Official 1

 8   transferred by wire $2.8 million to Person 1’s Company.

 9        15.   On or about December 27, 2016, Qatar Government Official 1

10   transferred by wire $3 million to Person 1’s Company.

11        16.   On or about January 23, 2017, Businessperson 3, a business

12   associate of Person 1, sent defendant OLSON a draft plan for a

13   lobbying campaign to convince the White House and the U.S. Department

14   of Homeland Security (“DHS”) to establish preclearance facilities at

15   Doha International Airport.

16        17.   The next day, on or about January 24, 2017, defendant OLSON

17   sent Person 1 and Businessperson 3 an email that included his advice

18   on how Qatar could “sell” its preclearance proposal to the U.S.

19   government.   For example, defendant OLSON advised that it would be

20   important to secure the support of the U.S. Ambassador to Qatar,

21   stating, “I know her well but can’t do it because of State’s post

22   employment ethics restrictions, but [Person 1] can charm her she’s

23   from LA.   The deal closer would be for the Qataris help her get a new

24   Embassy[.]”

25        18.   On or about January 29, 2017, Businessperson 3 emailed a

26   revised lobbying plan to defendant OLSON and Person 1, incorporating

27   defendant OLSON’s input.    The revised plan called for Qatar to lobby

28   the U.S. House of Representatives, U.S. Senate, White House National

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 1   Security Council, DHS, and specific CBP officials, followed by a

 2   negotiated agreement between DHS and the government of Qatar to

 3   establish preclearance facilities at Doha International Airport.

 4           19.   On or about January 31, 2017, defendant OLSON sent

 5   Businessperson 3 further revisions to the lobbying plan.             Defendant

 6   OLSON recommended that Qatar leverage its support for the U.S.

 7   military to obtain the preclearance facilities it sought, stating,

 8   “We also believe it should be possible to leverage Qatar’s strong

 9   record of support for the U.S., particularly the U.S. military, to

10   push the pre-clearance program through.”

11           20.   On or about February 14, 2017, Businessperson 3 emailed the

12   preclearance lobbying plan that incorporated defendant OLSON’s advice

13   to a government email address of Qatar Government Official 3, an

14   official with the Qatar Ministry of Interior, copying Qatar

15   Government Official 1, defendant OLSON, and Person 1.

16           21.   On or about March 9, 2017, Person 1 sent Qatar Government

17   Official 1 a copy of Person 1’s Company’s draft contract with the

18   Qatar-based holding company.        In a cover email, Person 1 stated,

19   “this will incorporate preclearance project.”

20                 b.   DEFENDANT OLSON PROVIDED AID AND ADVICE TO QATAR TO
                        FACILITATE LOBBYING U.S. OFFICIALS TO SUPPORT QATAR
21                      DURING A DIPLOMATIC CRISIS

22           22.   On or about May 24, 2017, cyber hackers, reportedly funded

23   by the UAE, committed a computer intrusion at the Qatar News Agency

24   website.      The hackers posted statements, purportedly by Qatar

25   Government Official 2, that appeared supportive of the Government of

26   Iran.    Hackers also leaked emails of the UAE’s Ambassador to the

27   United States that discussed Qatar’s support for the Muslim

28   Brotherhood and militant groups.

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 1        23.    On or about June 5, 2017, citing Qatar’s purported support

 2   for Iran and terrorism, several Gulf states, including the UAE and

 3   the Kingdom of Saudi Arabia, cut ties with Qatar and implemented a

 4   blockade, closing all air and sea lanes to the country (“the Gulf

 5   Diplomatic Crisis”).

 6        24.    On or about June 6, 2017, several U.S. House

 7   representatives introduced House Resolution 2712 “to impose sanctions

 8   with respect to foreign support for Palestinian terrorism[.]”          The

 9   Resolution identified Qatar as providing financial support to Hamas,

10   a terrorist organization.

11        25.    On or about June 1, 2017, Person 1 enlisted the help of

12   defendant OLSON, Businessperson 3, and Businessperson 4 to organize

13   and participate in a lobbying and public relations campaign to

14   convince the U.S. government to support Qatar during the Gulf

15   Diplomatic Crisis.   The lobbying and public relations effort sought

16   to use the Gulf Diplomatic Crisis as a business opportunity and to

17   profit from defendant OLSON’s status as a former U.S. Ambassador to

18   the UAE, Qatar’s primary rival in the crisis, and defendant OLSON’s

19   ability to provide aid and advice to Qatar.

20        26.    Defendant OLSON’s aid included recruiting Person 3 to join

21   defendant OLSON in providing aid and advice to Qatari government

22   officials with the intent to influence U.S. foreign policy with

23   respect to the Gulf Diplomatic Crisis.       On or about June 6, 2017,

24   defendant OLSON contacted Person 3 to enlist his support in the

25   endeavor.   That same day, defendant OLSON emailed Person 1 that he

26   had been in touch with Person 3 and informed him that Person 3 was

27   “interested in helping out with Qatar.”

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 1        27.   On or about June 10, 2017, defendant OLSON, Person 1,

 2   Person 3, Businessperson 4, and Qatar Government Official 1 traveled

 3   to Doha, Qatar.   After checking into their hotel, defendant OLSON and

 4   Person 3 met with the U.S. Ambassador to Qatar to discuss the purpose

 5   of their trip.

 6        28.   That same day, on or about June 10, 2017, defendant OLSON,

 7   Person 1, and Person 3 traveled to the Qatari royal palace to meet

 8   with senior Qatari government officials, including Qatar Government

 9   Official 2, Qatar Government Official 4, Qatar Government Official 5,

10   and Qatar Government Official 6.      The Qatari government officials did

11   not permit Person 1 to attend the meetings.

12        29.   On or about June 15, 2017, defendant OLSON, Person 1, and

13   Person 3 met for dinner with Qatar Government Official 4 at a hotel

14   in Washington, D.C.

15        30.   On or about June 28, 2017, defendant OLSON, Person 1,

16   Person 3, and Qatar Government Official 5 met with several sitting

17   members of the U.S. House of Representatives for the purpose of

18   convincing the U.S. lawmakers to support Qatar rather than its

19   regional rivals in the Gulf Diplomatic Crisis.

20        31.   These Introductory Allegations are incorporated into each

21   Count of this Information.

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 1                                    COUNT ONE

 2                               [18 U.S.C. § 1018]

 3        32.   On or about May 12, 2016, defendant RICHARD GUSTAVE OLSON,

 4   JR., a public officer, knowingly made and delivered his annual OGE

 5   Form 278 for the 2015 calendar year, in which he certified his

 6   answers were “true, complete and correct to the best of my

 7   knowledge.”   In this OGE Form 278, defendant OLSON knowingly failed

 8   to disclose material matters to the U.S. State Department and Office

 9   of Government Ethics, as required, namely, the travel benefits he

10   received from Person 1 including the airfare from New Mexico to Los

11   Angeles, the airfare from Los Angeles to London, and the lodging in

12   London, collectively worth over $19,000.

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 1                                     COUNT TWO

 2                    [18 U.S.C. §§ 207(f)(1)(B), 216(a)(1)]

 3        33.   From on or about February 14, 2017, to on or about June 28,

 4   2017, in Qatar, within the extraterritorial jurisdiction of the

 5   United States, and elsewhere, defendant RICHARD GUSTAVE OLSON, JR., a

 6   person who was subject to the restrictions contained in Title 18,

 7   United States Code, Section 207(c), within one year after leaving the

 8   position, office, and employment of United States Special

 9   Representative for Afghanistan and Pakistan, knowingly aided and

10   advised a foreign entity, namely, the Government of Qatar, with the

11   intent to influence decisions of officers and employees of

12   departments and agencies of the United States in carrying out their

13   official duties, namely: (1) the decisions of officers and employees

14   of the White House National Security Council, DHS, and CBP as to

15   whether to establish preclearance facilities at Doha International

16   Airport in Doha, Qatar; and (2) the decisions of officers and

17   employees of the Executive Branch of the United States government,

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 1   including the National Security Advisor, as to whether and how to

 2   support Qatar in the Gulf Diplomatic Crisis.

 3

 4                                         TRACY L. WILKISON
                                           United States Attorney
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 6

 7                                         SCOTT M. GARRINGER
                                           Assistant United States Attorney
 8                                         Chief, Criminal Division
 9
                                           MACK E. JENKINS
10                                         Assistant United States Attorney
                                           Chief, Public Corruption &
11                                            Civil Rights Section

12                                         DANIEL J. O’BRIEN
                                           Assistant United States Attorney
13                                         Deputy Chief, Public Corruption &
14                                            Civil Rights Section

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